         Case 1:24-cv-00142-DMT-CRH Document 27 Filed 09/05/24 Page 1 of 16




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NORTH DAKOTA
                                 WESTERN DIVISION



    THE CATHOLIC BENEFITS
    ASSOCIATION, on behalf of its members;
    and BISMARCK DIOCESE,

                            Plaintiffs,
    v.
                                                       No. 1:24-cv-00142-CRH
    CHARLOTTE BURROWS, Chair of the
    United States Equal Employment Oppor-
    tunity Commission; and UNITED
    STATES EQUAL EMPLOYMENT OP-
    PORTUNITY COMMISSION,

                            Defendants.

                     CBA PLAINTIFFS’ REPLY IN SUPPORT OF THEIR
                       MOTION FOR PRELIMINARY INJUNCTION

     Defendants’s response argues that the CBA cannot sue on behalf of its members and that this

case is premature. In Defendants’ telling, it is not Defendants’ hostility to religious freedom or their

eagerness to force Catholic employers to accommodate abortions, immoral infertility treatments,

access to single-sex spaces, or false pronouns that is extraordinary. It is instead CBA’s seeking pre-

enforcement review on an association-wide basis. But Defendants’ suit is not procedurally unusual,

and Defendants’ justiciability arguments have been repeatedly rejected by this and other courts. 1


1
 E.g., Religious Sisters of Mercy v. Becerra, 55 F.4th 583, 606-07 (8th Cir. 2022) (affirming pre-en-
forcement challenge by CBA to EEOC interpretation of Title VII); Christian Emps. All. v. United
States Equal Opportunity Comm’n, 2022 WL 1573689, at *9 (D.N.D. May 16, 2022) (pre-enforce-
ment preliminary injunction against EEOC for Christian membership organization); Christian
Emps. All. v. Azar, 2019 WL 2130142, at *6 (D.N.D. May 15, 2019) (permanent injunction against
HHS in favor of Christian membership organization on pre-enforcement basis); Franciscan All.,
Inc. v. Burwell, 227 F. Supp. 3d 660, 695 (N.D. Tex. 2016) (permanent injunction against HHS in

                                                   1
     Case 1:24-cv-00142-DMT-CRH Document 27 Filed 09/05/24 Page 2 of 16




Indeed, Defendants have already been preliminarily enjoined from applying the PWFA to cover

abortion in a suit brought by a religious plaintiff. Louisiana v. Equal Emp. Opportunity Comm’n, 705

F. Supp. 3d 643, 664 (W.D. La. 2024). Because the Final Rule and the Guidance do violence to the

statutory text, and because they violate Catholic beliefs, they must be preliminarily enjoined.

1. This case is justiciable.

   Defendants do not contest CBA members adherence to Catholic teaching that abortion is the

taking of a human life; that certain “treatments” for infertility betray the right of a child to be

conceived by the loving act of his mother and father, and that biological sex is intertwined with

scriptural understanding of God’s creative design for humanity. Nor do Defendants challenge the

fact that all CBA members agree, as a condition of membership, that they will provide employee

benefits and services consistent with Catholic teaching on such matters. Compl. ¶¶ 36-38; Doc. 1-

2, art. 3.1; Docs. 1-3, 1-4. And Defendants do not dispute that CBA members will not accommodate

abortion, immoral infertility treatments, or false pronouns. Compl. ¶¶ 25-28, 36-38; Doc. 1-2, art.

3.1; Doc. 1-5, ¶¶ 12-16; Doc. 1-6, ¶ 22.

   Defendants instead rest their defense on justiciability arguments that the CBA members’

claims cannot be adjudicated on a pre-enforcement, association-wide basis—even though the

PWFA Final Rule and Enforcement Guidance equally burden CBA members’ religious exercise in

one fell swoop. Defendants argue that the only way CBA members’ religious freedom may be vin-

dicated is as a defense to thousands of individual enforcement actions on a “case-by-case” basis. Doc.

22, p. 15. That is a radical legal position that has been repeatedly rejected by courts. Because



favor of Christian Medical & Dental Society on pre-enforcement basis); Catholic Benefits Associa-
tion v. Sebelius, 24 F. Supp. 3d 1094, 1107 (W.D. Okla. 2014) (preliminary injunction against HHS
in favor of CBA).

                                                  2
     Case 1:24-cv-00142-DMT-CRH Document 27 Filed 09/05/24 Page 3 of 16




“[g]overnment harassment of religious organizations requiring them to prove they are religious or

evaluating whether their religious preferences can withstand a case-by-case analysis is a sufficient

injury” for Article III, Christian Emps. All., 2022 WL 1573689, at *5, Defendants’ arguments fail.

   1.1. CBA Members are suffering Article III injury.

   There are two types of injury here: constitutional and regulatory.

   First, Article III injury is present if CBA shows: “an intention to engage in a course of conduct

arguably affected with a constitutional interest,” “arguably proscribed by a statute,” and there

“exists a credible threat of prosecution thereunder.” Religious Sisters of Mercy, 55 F.4th at 603

(Plaintiffs included CBA). Defendants do not dispute that CBA Plaintiffs’ intended conduct is af-

fected with a constitutional interest or that the PWFA Final Rule and the Enforcement Guidance

require CBA members to accommodate and speak in favor of employee abortions, immoral infer-

tility treatments, or gender ideology on their face. Doc. 22, p. 1 (The PWFA Final Rule “encom-

passes abortion and certain infertility treatments.”); id., p. 6 (“The Guidance also provides exam-

ples of ‘harassing conduct’ . . . including ‘repeated and intentional . . . misgendering’ and ‘the

denial of access to a bathroom or other sex-segregated facility consistent with the individual’s gen-

der identity.’”). That is sufficient for pre-enforcement standing. Courts “assume a credible threat

of prosecution” in a “pre-enforcement challenges to recently enacted (or, at least, non-moribund)

statutes that facially restrict” First Amendment rights. Speech First, Inc. v. Fenves, 979 F.3d 319,

335 (5th Cir. 2020) (collecting cases). But were that not enough, Defendants’ refusal to disavow

enforcement of the Final Rule and the Enforcement Guidance is itself a credible threat. Religious

Sisters of Mercy, 55 F.4th at 605. And EEOC regularly prosecutes covered employers for




                                                 3
      Case 1:24-cv-00142-DMT-CRH Document 27 Filed 09/05/24 Page 4 of 16




“misgendering” employees and for “gender identity” discrimination. See Enforcement Guidance

§ 5.c, n.42 (collecting enforcement actions). 2

    Second, CBA’s members have suffered regulatory harm. An “additional regulatory burden . . .

undeniably [creates] a . . . ‘case or controversy.’” Ass’n of Am. Railroads v. Dep’t of Transp., 38

F.3d 582, 586 (D.C. Cir. 1994); see also Texas v. EEOC, 933 F.3d 433, 446 (5th Cir. 2019) (same).

CBA’s members are objects of the PWFA Final Rule and the Guidance. They have not adopted

the requisite accommodating policies, and would incur compliance and training burdens if forced

to do so. 89 Fed. Reg. 29,096, 29,175-77 (Apr. 19, 2024) (detailing compliance cost); see also Loui-

siana, 705 F. Supp. 3d at 656 (EEOC forcing religious employer to “choose between two untenable

alternatives . . . constitutes injury”).

    1.2. Defendants’ arguments to the contrary are incorrect.

    Defendants first contend that CBA failed to “submit[] any evidence demonstrating” it is “ac-

tually or imminently” subject to an enforcement action. Doc. 22, p. 8 (cleaned up). But it is De-

fendants’ burden to “identify a long history of nonenforcement against the plaintiffs and others like

them.” Religious Sisters of Mercy, 55 F.4th at 606. What Defendants themselves have actually of-

fered proof of is the opposite: that an injunction would irreparably injure “employees” of CBA

members who “require accommodations” for abortion, immoral infertility treatments, or gender

ideology. Doc. 22, p. 29. This distinguishes National Conference of Catholic Bishops v. Smith, 653




2
 E.g., Roxanna B. v. Yellen, EEOC DOC 2020004142, 2024 WL 277871, at *12 (Jan. 10, 2024)(li-
ability imposed for “misgendering and deadnaming”); Jameson v. U.S. Postal Serv., EEOC Appeal
No. 0120130992, 2013 WL 2368729, at *2 (May 21, 2013) (misuse of pronoun may constitute sex-
based harassment); Lusardi v. Department of the Army, EEOC Appeal No. 0120133395, 2015 WL
1607756 at *10-13 (Apr. 1, 2015) (liability imposed for supervisor’s use of incorrect pronouns re-
fusal to allow use of restroom consistent with gender identity).

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      Case 1:24-cv-00142-DMT-CRH Document 27 Filed 09/05/24 Page 5 of 16




F.2d 535, 543 (D.C. Cir. 1981), because there, “EEOC ha[d] not finally settled on its interpretation

of the statute” and whose position was in “disarray.”

    Second, Defendants argue that “numerous contingencies would all have to occur” for a threat

of enforcement to be credible. Doc. 22, p. 12. This argument, too, has been oft rejected in similar

litigation. 3 Moreover, CBA members are subject to the Final Rule and the Guidance, and thus

standing is presumed. Ass’n of Am. Railroads, 38 F.3d at 586; Texas, 933 F.3d at 446. Finally, the

eight-link chain of contingencies Defendants scare up is actually just one. After this case, a Com-

missioner can file a Commissioner’s Charge against CBA’s members based upon the CBA’s state-

ments herein. See 42 U.S.C. § 2000e-5(b) (empowering Commissioners to file charge).

    Third, Defendants argue that CBA lacks standing because in the short time since the Enforce-

ment Guidance and PWFA Final Rule have been in effect, no charge has been filed against a CBA

member. Doc. 22, p. 9-10. The Fifth Circuit’s rejected the same argument in Braidwood Manage-

ment, and its analysis is on all fours here:

        Plaintiffs’ credible-threat analysis is quite simple. First, they admit they are break-
        ing EEOC guidance . . . . They posit statutory and constitutional issues with the
        laws under which they are at risk of being prosecuted: Those issues, they allege, are
        already forcing plaintiffs to choose either to restrict their religious practices or to
        risk potential penalties. . . . Finally, the EEOC refuses to declare affirmatively that
        it will not enforce Title VII against the plaintiffs’ policies . . . .

70 F.4th at 926-927; see also Louisiana, 705 F. Supp. 3d at 655-56 (same). And yet, an enforcement

action is just a matter of time. Catholic employers (and CBA members) are regularly sued for




3
  Religious Sisters of Mercy, 55 F.4th at 607 (no further factual development necessary to determine
credible threat of enforcement from EEOC exists); Braidwood Management, 70 F.4th at 931 (reject-
ing “EEOC’s near talismanic mantra that ‘further factual development’” is necessary); Louisiana,
705 F. Supp. 3d at 656 (rejecting argument that religious plaintiffs’ challenge to the Final Rule was
not ripe because of possible contingencies).

                                                  5
     Case 1:24-cv-00142-DMT-CRH Document 27 Filed 09/05/24 Page 6 of 16




policies related to Catholic teaching on IVF, Herx v. Diocese of Fort Wayne-South Bend, 48

F.Supp.3d 1168 (N.D. Ind. 2014); gender identity, C. P. by & through Pritchard v. Blue Cross Blue

Shield of Illinois, 2022 WL 17788148 (W.D. Wash. Dec. 19, 2022) (concerning Catholic hospital);

same-sex marriage, Doe v. Cath. Relief Servs., 618 F. Supp. 3d 244 (D. Md. 2022) (subsequent his-

tory omitted); Starkey v. Archdiocese of Indianapolis, 41 F.4th 931 (7th Cir. 2022); and abortion,

Curay-Cramer v. Ursuline Acad., 450 F.3d 130 (3d Cir. 2006).

    Fourth, Defendants assert that CBA Plaintiffs have provided no evidence they will speak in

ways contrary to the PWFA Final Rule or the Enforcement Guidance, or discipline employees for

speech contrary to Catholic values. Doc. 22, p. 13. That is incorrect. See Compl. ¶¶ 22-28, 60-65,

67-68, 77, 81-84, 133-141; Doc. 1-5, ¶ 8-10, 12-18; Doc. 1-6, ¶¶ 14-17, 22. The restriction on speech

imposed by the Final Rule and the Enforcement Guidance arise from Title VII’s prohibitions on

harassment, retaliation, and coercion, the latter two of which are incorporated into the PWFA. See

42 U.S.C. § 2000gg-2(f)(1)-(2).

    Fifth, Defendants say that the CBA cannot challenge the Enforcement Guidance because it is

merely guidance, not a rule. Resp. at 11. Again, this argument has been repeatedly rejected by

courts. 4 Like those previous cases, Defendants do not disavow their interpretation of Title VII,

which gives rise to a credible fear of enforcement. Doc. 22, p. 11.




4
  Religious Sisters of Mercy v. Azar, 513 F. Supp. 3d 1113, 1142 (D.N.D. 2021) (enjoining EEOC
interpretation because EEOC would not disavow enforcement), aff’d in part, remanded in part Re-
ligious Sisters of Mercy, 55 F.4th 583; see also Braidwood, 70 F.4th 914, 927 (employer has standing
to bring declaratory judgment action with regard to EEOC’s guidance interpreting statutory pro-
hibitions on sex discrimination to include sexual orientation and gender identity); Christian Emps.
All. v. United States Equal Opportunity Comm’n, 2024 WL 935591 (D.N.D. Mar. 4, 2024) (perma-
nently enjoining EEOC interpretation of Title VII).

                                                  6
      Case 1:24-cv-00142-DMT-CRH Document 27 Filed 09/05/24 Page 7 of 16




    Sixth, Defendants argue that CBA’s claims are unripe because a private plaintiff could still sue

a CBA member. Doc. 22, p. 11. But CBA requests the Court to stay and ultimately vacate the

PWFA Final Rule and declare that neither the PWFA nor Title VII require CBA members to ac-

commodate abortion, immoral infertility treatments, false pronouns, or access to single-sex spaces.

Further, “Private enforcement is simply an additional available remedy.” Seattle Pac. Univ. v. Fer-

guson, 104 F.4th 50, 62 (9th Cir. 2024). And, as such, it “does not undercut redressability.” Id. 5

    1.3. CBA has associational standing to sue on behalf of its present and future members.

    An association may sue on behalf of its members if: “(1) the individual members would have

standing to sue in their own right; (2) the organization’s purpose relates to the interests being vin-

dicated; and (3) the claims asserted do not require the participation of individual members.” Sierra

Club v. U.S. Army Corps of Eng’rs, 645 F.3d 978, 986 (8th Cir. 2011). Defendants dispute only prong

three of this test, arguing that CBA’s members must sue individually. Doc. 22, p. 12-13. If that

were true, then the Christian Employers Alliance and organizations like it would not have had

standing in their challenges to HHS’s contraceptive mandate and EEOC’s gender-transition-ser-

vices mandate. See note 1, supra. Defendants’ argument misunderstands the doctrine of associa-

tional standing. “Where,” as here, “an organizational plaintiff seeks only declaratory and prospec-

tive injunctive relief, the participation of individual members is not required.” Christian Emps. All.,




5
  Concerning CBA’s challenge to the Enforcement Guidance, Defendants argue that School of the
Ozarks v. Biden, 41 F.4th 992 (8th Cir. 2022) supports their position that CBA’s harm here is spec-
ulative. Doc. 22, p. 12. Not so. In Ozarks, the government defendant had expressly agreed to pro-
vide the plaintiff in that case a blanket religious exemption from the challenged interpretation. Id.
at 999. And in Ozarks the government had never enforced the interpretation that was being chal-
lenged. Id. Here by contrast, Defendants have neutered Title VII’s blanket religious exemption
and have specifically enforced their errant readings of the statutes as recently as January 2024. See
Roxanna B., 2024 WL 277871, at *12.

                                                  7
      Case 1:24-cv-00142-DMT-CRH Document 27 Filed 09/05/24 Page 8 of 16




2024 WL 935591, at *4. It also misunderstands the nature of CBA membership, which requires

members to provide employee services consistent with Catholic values, Compl., ¶¶ 38-39, which

prohibit any accommodation of abortion, immoral infertility treatments, or false pronouns, Compl.

¶¶ 59-84; Doc. 1-5 (Cary Declaration); Doc. 1-6 (Hebda Declaration). Again, the Fifth Circuit re-

jected a similar argument in Braidwood, 70 F.4th at 927. Like the religious employers in Braidwood,

who adopted policies in opposition to EEOC guidelines, CBA members “are entitled to receive

clarification from this court before stifling their constitutional practices or otherwise exposing

themselves to punishment or enforcement action.” Id. at 927-28.

       1.3.1. The Government is precluded from relitigating this issue.

   Over the last decade, the government has repeatedly litigated and lost the argument that the

CBA lacks associational standing absent the participation of individual CBA members. In Catholic

Benefits Association v. Sebelius, 24 F. Supp. 3d 1094, 1100–01 (W.D. Okla. 2014), for example, the

government argued that the religious burden on CBA members “vary from employer to employer”

and thus CBA could not satisfy prong three of the test for associational standing. Id. at 1100. The

court rejected that argument, reasoning that it “is abundantly clear that all of the CBA’s members

abide by Catholic conviction” and thus could sue on an associational basis. Id. at 1101. The court

explained that where “[t]he CBA is seeking an injunction on its members’ behalf, . . . this is the

type of relief [that] . . . if granted, will inure to the benefit of those members of the association

actually injured.” Id. (cleaned up). This Court has also ruled that participation of individual CBA

members is not required in suits like this. Religious Sisters of Mercy, 513 F. Supp. 3d at 1137.

   The Government is precluded from re-litigating this issue under the doctrine of “mutual de-

fensive collateral estoppel” which “is applicable against the government to preclude relitigation of

the same issue already litigated against the same party in another case involving virtually identical
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      Case 1:24-cv-00142-DMT-CRH Document 27 Filed 09/05/24 Page 9 of 16




facts.” United States v. Stauffer Chem. Co., 464 U.S. 165, 169 (1984). Because this “issue of . . .

law”—whether the CBA may assert a RFRA claim on behalf of its members—“[wa]s actually lit-

igated and determined by a valid and final judgment, and the determination [wa]s essential to the

judgment, the determination is conclusive in [this] subsequent action between the parties.” B & B

Hardware, Inc. v. Hargis Indus., Inc., 575 U.S. 138, 148(2015).

2. CBA is likely to succeed on the merits.

   2.1. The PWFA Final Rule exceeds statutory authority.

   Text. Defendants only textual argument is that because the PWFA requires accommodation for

“related medical conditions” to “pregnancy” or “childbirth,” Congress “intended to cover

‘pregnancy’ regardless of its outcome,” including abortion. Doc. 22, p. 21. But elective abortion is

not an “outcome” of pregnancy like miscarriage or birth; it is a voluntary choice to end a preg-

nancy. And even if it were, Congress protected only one such “outcome,” childbirth, not abortion.

Nor is abortion a “medical condition” related to pregnancy; it is “better described as a medical

‘procedure,’” sought to terminate a pregnancy. Louisiana, 705 F. Supp. 3d at 658. So too with

fertility treatments. Defendants do not contest that infertility is a “known limitation . . . related to

pregnancy, childbirth, or related medical conditions,” 42 U.S.C. § 2000gg-1(1), because a woman

who is infertile is definitionally not pregnant. They instead cite inapposite sex-discrimination

caselaw that discrimination on the basis of the ability to become pregnant is necessarily sex-based

discrimination because only women can become pregnant. Doc. 22, p. 21-22. But the PWFA does

not bar sex discrimination; it requires accommodation of conditions related to pregnancy.

   Legislative intent. Defendants’ primary argument is that Title VII, as amended by the Preg-

nancy Discrimination Act (“PDA”), set “pregnancy, childbirth, and related medical conditions”

as a “term of art” that was “transplanted” to the PWFA. Doc. 22, p. 20. Yet the case it cites,
                                                   9
     Case 1:24-cv-00142-DMT-CRH Document 27 Filed 09/05/24 Page 10 of 16




George v. McDonough, says that establishing a term of art takes not “a few stray [court] decisions,”

but a “mountain” of “regulatory authority” that “captures ‘the state of [a] body of law.’” 596

U.S. 740, 749-50 (2022). The “thin stuff” Defendants supply here, id. at 749, fall short of estab-

lishing that PDA’s alleged “meaning was ‘well-settled’ before the [alleged] transplantation,”

Kemp v. United States, 596 U.S. 528, 539 (2022). EEOC’s argument is that: (1) “pregnancy, child-

birth, and related medical conditions” in the PDA covers abortion; (2) the PWFA uses that phrase;

(3) the PWFA covers abortion. But this ignores significant contextual differences between the stat-

utes. Designworks Homes, Inc. v. Columbia House of Brokers Realty, Inc., 9 F.4th 803, 807 (8th Cir.

2021) (courts must consider “statutory context”). Namely, the PDA concerns sex discrimination,

whereas PWFA concerns accommodation for medical conditions related to pregnancy. Indeed, the

statute’s words aren’t even the same. The PDA’s uses the phrase “include, but are not limited to …

pregnancy, childbirth, or related medical conditions.” 42 U.S.C. § 2000e(k) (emphasis added).

The PWFA lacks any such expansive language, narrowing coverage to “known limitation[s].”

    Major questions doctrine. Defendants’ argument ignores that “[a]bortion” and “IVF” are terms

“readily understood by everyone.” Louisiana, 705 F. Supp. 3d at 658. “If Congress had intended

to mandate that employers accommodate elective abortions [or infertility treatments] under the

PWFA, it would have spoken clearly when enacting the statute, particularly given the enormous

social, religious, and political importance of the[se] issue[s].” Id.

    Religious exemption. The PWFA incorporates Title VII’s religious exemption. The PWFA Final

Rule improperly limits this exemption to claims of religious discrimination. Doc. 11, p. 25.

    Defendants first argue that not all CBA members subject to the PWFA would qualify for Title

VII’s religious exemption incorporated by reference into the PWFA. Doc. 22, p. 23. Not so. All of



                                                  10
     Case 1:24-cv-00142-DMT-CRH Document 27 Filed 09/05/24 Page 11 of 16




CBA’s members are “religious corporation[s], association[s], educational institution[s], or so-

ciet[ies]” within the meaning of Title VII’s religious exemption, 42 U.S.C. § 2000e-1(a). See

Compl., ¶¶ 37-39 (defining membership criteria for CBA).

   Defendants argue that because CBA members might have other religious defenses, Defendants

need not import Title VII’s religious exemption. Doc. 22, p. 24. But whether PWFA imports Title

VII’s religious exemption turns on the statutory text, not whether other defenses may be available.

   Defendants’ last-ditch argument is that the PWFA Final Rule does not actually narrow the

religious exemption to only discrimination based on religious status, and “instead entities are free

to invoke religion as a defense to any PWFA charge of discrimination” on a case-by-case basis.

Doc. 22, p. 24. But in the next paragraph, Defendants about face and argue that the religious ex-

emption does not reach “religiously motivated sex discrimination by religious organizations.” Id.

   Constitutional avoidance. Defendants argue that the doctrine of constitutional avoidance is in-

applicable because “Title VII’s religious exemptions implement the First Amendment’s command

to avoid intrusive inquiry into religious belief.” Doc. 22, p. 25 (cleaned up). But that is precisely

the point. Defendants’ refusal to give Title VII’s religious exemption its proper scope invites an

“intrusive inquiry” into CBA members’ religious beliefs on a case-by-case basis.

   2.2. The PWFA Final Rule and the Enforcement Guidance violate the Religious Freedom
       Restoration Act.

   Substantial burden. As a condition of membership, CBA members may not “provid[e] . . . ben-

efits or services” to their employees “inconsistent with Catholic values.” Compl. ¶ 38; see also id.

¶¶ 59-84. As Bishop Cary, Bishop Kagan, and Archbishop Hebda explain, among other things:

CBA members “will not provide any workplace accommodation for an employee to obtain a direct

abortion” and “obtaining a direct abortion is grounds for adverse employment action, up to and


                                                 11
     Case 1:24-cv-00142-DMT-CRH Document 27 Filed 09/05/24 Page 12 of 16




including termination,” Doc. 1-5, ¶ 13; CBA members “will not provide any workplace accommo-

dation for an employee to . . . participate in immoral infertility procedure,” id. ¶ 24; “[r]equiring

[CBA members] to identify another by a sex other than their God-gifted sex would be to require

him or her to act against central, unchangeable and architectural teachings of the Catholic faith,”

Doc. 1-6 ¶ 8; and “[r]equiring a Catholic institution to admit persons of the opposite sex into a

space reserve for one sex violates the Catholic” teaching, Doc. 1-6, ¶ 19.

   Defendants argue that “it is far from clear every accommodation request will necessarily bur-

den” CBA members’ religious beliefs. Doc. 22, p. 17. But if Defendants are correct, and the PWFA

and Title VII ever require accommodation for abortion, immoral infertility treatment, access to

single-sex spaces by a member of the opposite sex, or use of false pronouns, then CBA members’

Catholic beliefs have been burdened. See Braidwood, 70 F.4th at 931 (religious employers’ policies

prohibiting conduct inconsistent with faith enough to adjudicate right to religious exemption).

   Strict scrutiny. As anticipated, Doc. 11, p. 19-20, Defendants merely offer broadly formulated,

generalized interests in “eradicating workplace discrimination,” and “ensuring that qualified em-

ployees can remain in the workforce while receiving healthcare,” Doc. 22, p. 17-18. These asserted

interests are not even specific to the challenged aspects of the Rule and Enforcement Guidance

(abortion, immoral infertility treatments, access to single-sex spaces, and false pronouns), let alone

specific to the CBA members as required by law. See Sharpe Holdings, Inc. v. U.S. Dep’t of Health

& Hum. Servs., 801 F.3d 927, 937 (8th Cir. 2015). Unphased, Defendants attempt to shift their

burden to satisfy strict scrutiny to the CBA, arguing that CBA must prove that Defendants lack a

compelling interest. Doc. 22, p. 17. But it is Defendants who must prove their compelling interest.




                                                 12
     Case 1:24-cv-00142-DMT-CRH Document 27 Filed 09/05/24 Page 13 of 16




    Nor can Defendants carry their burden on less-restrictive means. Defendants argue that any

application of the PWFA Final Rule or the Enforcement Guidance must proceed on a case-by-case

basis because that is the least restrictive means. Doc. 22, p. 19. But “[d]etermining on a case-by-

case basis if a religious exemption should apply is certainly not the least restrictive means, espe-

cially in the absence of evidence supporting this position.” Christian Emps. All., 2024 WL 935591,

at *9. Indeed, Title VII provides an alternative: a religious exemption 42 U.S.C. § 2000e-1(a).

    Case-by-case approach. Defendants once again argue that RFRA cannot be asserted by a religious

association on behalf of its members. Doc. 22, p. 14-16. But there is nothing unusual about CBA’s

case. Numerous decisions have adjudicated RFRA claims asserted by a religious association. 6

3. The remaining preliminary injunction factors favor the CBA and its members.

    Irreparable harm. Citing Ng v. Bd of Regents of Univ. of Minn., 64 F.4th 992, 998 (8th Cir. 2023),

Defendants argue that CBA members have forfeited their right to a stay or preliminary injunction

because CBA filed suit a month after the PWFA Final Rule became effective on June 18, 2024.

Doc. 22, p. 25. But Ng is distinguishable. First, Ng did not arise from a RFRA claim, and “the loss


6
  See, e.g., Tony & Susan Alamo Found. v. Sec’y of Lab., 471 U.S. 290, 303 n.26 (1985) (“The Foun-
dation also has standing to raise the free exercise claims of the associates, who are members of the
religious organization….”); Arizona Yage Assembly v. Garland, 2023 WL 3246927, at *4 (D. Ariz.
May 4, 2023) (holding church had associational standing to assert RFRA claim); Christian Emps.
All., 2022 WL 1573689, at *8 (holding that Christian association had standing on behalf of its mem-
bers); Word Seed Church v. Vill. of Hazel Crest, 533 F. Supp. 3d 637, 649 (N.D. Ill. 2021)(holding
association of churches had associational standing to assert claims); Fields v. Speaker of the Pennsyl-
vania House of Representatives, 251 F. Supp. 3d 772, 783 (M.D. Pa. 2017) (holding association could
assert free-exercise claim); Franciscan All., 227 F. Supp. 3d at 680 (holding that the CMDA could
assert RFRA claim on behalf of 18,000 members); Big Hart Ministries Assoc., Inc. v. City of Dallas,
2013 WL 12304552, at *9-10 (N.D. Tex. 2013) (holding that religious organization had associa-
tional standing); S. Fork Band v. U.S. Dep’t of Interior, 643 F. Supp. 2d 1192, 1205–06 (D. Nev.
2009) (holding that group of Indian tribes could assert religious-freedom claims on behalf of their
members) (subsequent history omitted); C.L.U.B. v. City of Chicago, 1996 WL 89241, at *15 (N.D.
Ill. 1996) (holding association could assert free-exercise claim).

                                                  13
     Case 1:24-cv-00142-DMT-CRH Document 27 Filed 09/05/24 Page 14 of 16




of freedoms guaranteed by RFRA constitutes per se irreparable harm.” Religious Sisters of Mercy,

55 F.4th at 608–09. Second, the Plaintiff in Ng waited 13 months to file, whereas CBA filed suit the

next month. Ng, 64 F.4th at 996, 998 (explaining delay must be “significant”). Third, the Ng plain-

tiff, who sought an injunction allowing him to compete as a college gymnast, could not be returned

to the status quo, because by the time he sought an injunction, all gymnastic coaches had left for

other coaching positions. Id. at 998. No such impediment exists here.

   Balance of the equities. Oddly, Defendants argue that the balance of the equities favor them be-

cause “an injunction would severely harm . . . employees who may require accommodations or are

subject to unlawful workplace harassment.” Doc. 22, p. 26. But the premise of that argument—

that CBA members’ employees “may require accommodations or are subject to unlawful work-

place harassment” for, say, abortion—is why Defendants’ action must be enjoined. And in any

event, Defendants concede that the Rule and Guidance are underinclusive and thus fail to justify

their burden on CBA members’ religious rights. Doc. 11, p. 28.

4. CBA’s requested injunction is properly scoped.

   Defendants raise concerns about the CBA’s requested preliminary injunction, all of which are

unfounded. First, Defendants request that any preliminary relief be limited to the challenged por-

tions of the PWFA Final Rule and the Guidance. Doc. 22, p. 26. That is what CBA has requested.

Doc. 8, p. 2-3, ¶¶ 1-3. Second, Defendants argue that an association-wide injunction is improper

because CBA members might take advantage “a more favorable ruling in a different jurisdiction”

or could be precluded from receiving the benefit of this Court’s injunction. Doc. 22, p. 27. But the

CBA’s proposed injunction accounts for that. It is limited to “employer[s] [who have] not yet pro-

tected from the” Rule or the Guidance or who are not “subject to an adverse ruling on the merits



                                                14
     Case 1:24-cv-00142-DMT-CRH Document 27 Filed 09/05/24 Page 15 of 16




in another case involving the PWFA, the PWFA Rule, Title VII, or the Harassment Guidelines

with regard to the employer practices described in paragraphs 1 and 2 above.” Doc. 8, p.4.

    Third, Defendants argue that relief should be limited to only CBA’s present members. Doc.

22, p. 27-28. CBA seeks relief protecting all of its members, because protecting Catholic employers

from government coercion is at the heart of its mission. 7 Once again, collateral estoppel applies

because Defendants have litigated and lost this argument before. In CBA v. Sebelius, 24 F. Supp.

3d 1094 (W.D. Okla. 2014), CBA filed suit on behalf of its members, seeking an injunction against

the Government’s contraceptive mandate. The court initially sided with the Government and re-

fused to issue relief that extended to the CBA’s future members. Id. at 1106-07. The Government’s

opposition to protection of CBA’s future members resulted in the CBA having to file a second

lawsuit to seek the same relief for new members: CBA v. Burwell, 5:14-cv-685 (W.D. Okla.). After

numerous successful motions to extend the Court’s preliminary injunction to protect new CBA

members, the court found that it was more judicially efficient to issue a permanent injunction that

protects the CBA’s future members. See ECF No. 184 at p.2, Catholic Benefits Association v. Har-

gan, 14-cv-240 (W.D. Okla. Mar. 7, 2018). Having litigated and lost this argument, the Govern-

ment is estopped from re-raising it. Nor is there anything unusual about CBA’s request. This Court

has previously entered an injunction protecting future members of a religious association. Christian

Emps. All., 2019 WL 2130142, at *5. 8


7
  Restricting relief to the CBA’s present members would cripple the CBA. The CBA was estab-
lished “[t]o work and advocate for religious freedom of Catholic and other religious employers”
and “[t]o support Catholic employers” who, “as part of their religious witness and exercise,” wish
to provide employee benefits “in a manner that is consistent with Catholic values.” Compl., ¶ 46.
8
 See also Christian Emps. All., 2022 WL 1573689, at *9 (injunction inuring to the benefit of “pre-
sent or future members”); Religious Sisters of Mercy, 513 F. Supp. 3d at 1153 (“[I]njunctive relief

                                                15
     Case 1:24-cv-00142-DMT-CRH Document 27 Filed 09/05/24 Page 16 of 16




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                                               Respectfully submitted,

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should extend to the Catholic Plaintiffs’ present and future members . . . .”); ECF No. 82 at p. 2-
3, Little Sisters of the Poor Home for the Aged v. Azar, 13-cv-02611 (D. Colo. May 29, 2018) (enjoining
HHS mandate enforcement against “all current and future participating employers in the Christian
Brothers Employee Benefit Trust Plan”); ECF No. 95, Reaching Souls Int’l Inc. v. Azar, 13-cv-1092
(W.D. Okla. March 15, 2018) (extending Mandate-related injunction to “all current and future
participating employers in the Guidestone plan”).

                                                  16
